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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

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U.S. DtSlRlCT UBT
UNITED STATES OF AMERICA W OF TN, MEMPHIS
-v- ` Case No. 2:05cr20252-004D

DANNY ADAMS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defenth shall immediately advise the court, Pretrial Services Ofiice, Probation Offlce, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall nest appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom 5 on Wednesday, July 20, 2005, at 9:30 a.m..
ADDIT|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

l The defendant is released on personal recognizance

Secured Financial Conditions

0 report as directed by the Pretrial Services Offlce.
0 Refrain from possessing a firearrn, destructive device, or other dangerous weapon.
0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretn'al Services Ofticer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Subrnit to any method of testing required by the Pretu'al Services office or the supervising officer for
determining whether the defendant is using a prohibited substance. Such methods may be used with random
frequency and include urine testiug, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

This document entered on the docket sheet in complian a -
AO199A OrderSetting ConditionsofRetease Wilh RL.|+é“\JE &f!\.i/OF 32(1']] FHCFP OH d " /Q

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0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be iri addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a winiess, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life irnprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than 3250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge thatl am the defendant in this case and that I ain aware of the conditions of release. Iprornise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. l am aware

of the penalties and sanctions set forth above.
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Signature of Defendant
1887 Coventry

Memphis, TN 3 8127
901-314-8175

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DIRECT|ONS TO THE UN|TED STATES MARSHAL

|] The defendant is ORDERED released after processing
l'_'l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond andfor complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still iri
custody.

Date: July 14, 2005

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE J`UDGE

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UNITED sATE DISTRICT COURT - WTERN DISRTCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20252 was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

